Case 2:05-cv-02147-BBD-dkv Document 9 Filed 06/02/05 page 1 Of 2 Page|D 0
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IN THE UNITED sTATEs DISTRICT CoURT , 31
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUN -2 m 6-

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Wi§.` `»§`r~‘ `~r'N`, netieu\s
MARK ZANOTTI, '

Plaintiff,

No. 05-2147 DfV

FRITo-LAY,

Defendant.

 

ORDER OF DISMISSAL WITH PREJUDICE

 

Pursuant to the parties’ Stipulation of Disrnissal With Prejudioe, through Which they
represented that they have stipulated to the dismissal of all claims before this Court, with each
party to bear its own costs,

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this cause is

hereby dismissed with prejudice, each party to bear its own costs.

D STATES DISTRICT COURT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CV-02147 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

